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                           UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF OHIO


AERO ADVANCED PAINT                      :
TECHNOLOGY, INC.                         :
1245 Kinnear Road                        :
Columbus, Ohio 43212                     :   CASE NO.: 2:18-cv-00394
                                         :
              Plaintiff,                 :   JUDGE
                                         :
       vs.                               :   MAGISTRATE JUDGE
                                         :
INTERNATIONAL AERO PRODUCTS,             :
LLC                                      :
c/o Jonathan M. Saltman                  :
9058 Rosecrans Avenue                    :
Bellflower, California 90706             :
                                         :
Also Serve:                              :
National Registered Agents, Inc.         :
160 Greentree Drive, Suite 101           :
Dover, Delaware 19904                    :
                                         :
and                                      :
                                         :
INTERNATIONAL AERO HOLDINGS,             :
LLC                                      :
c/o Jonathan M. Saltman                  :
9058 Rosecrans Avenue                    :
Bellflower, California 90706             :
                                         :
Also Serve:                              :
National Registered Agents, Inc.         :
160 Greentree Drive, Suite 101           :
Dover, Delaware 19904                    :
                                         :
and                                      :
                                         :
INTERNATIONAL AERO                       :
ENGINEERING, LLC                         :
c/o Jonathan M. Saltman                  :
9058 Rosecrans Avenue                    :
Bellflower, California 90706             :
                                         :
                                         :

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Also Serve:                                    :
National Registered Agents, Inc.               :
160 Greentree Drive, Suite 101                 :
Dover, Delaware 19904                          :
                                               :
and                                            :
                                               :
INTERNATIONAL AERO SERVICES,                   :
LLC                                            :
c/o National Registered Agents, Inc.           :
818 West Seventh Street, Suite 930             :
Los Angeles, California 90017                  :
                                               :
Also Serve:                                    :
National Registered Agents, Inc.               :
160 Greentree Drive, Suite 101                 :
Dover, Delaware 19904                          :
                                               :
and                                            :
                                               :
JONATHAN M. SALTMAN                            :
9058 Rosecrans Avenue                          :
Bellflower, California 90706                   :
                                               :
and                                            :
                                               :
JOHN DOES 1 – 5                                :
                                               :
              Defendants.                      :


                                       COMPLAINT

                        (JURY DEMAND ENDORSED HEREON)


              Plaintiff AERO Advanced Paint Technologies, Inc. (“AERO”) alleges as follows:

                                          PARTIES


       1.     Plaintiff AERO is a corporation organized and existing under the laws of the state

of Delaware and having a principal place of business located at 1245 Kinnear Road, Columbus,

Ohio 43212. (See Exhibit 1 hereto.)

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       2.      Plaintiff AERO was incorporated on December 30, 2015, and is a wholly owned

subsidiary of entrotech, inc. (“entrotech”), a corporation organized and existing under the laws of

the state of Ohio and having a principal place of business located at 1245 Kinnear Road,

Columbus, Ohio 43212. (See Exhibit 2 hereto.)

       3.      Defendant International Aero Products, LLC (“IAP”), upon information and

belief, is a limited liability company organized and existing under the laws of the state of

Delaware and having a principal place of business located at 9058 Rosecrans Avenue,

Bellflower, California 90706. (See Exhibits 3 and 4 hereto.)

       4.      Upon information and belief, Defendant IAP was incorporated in Delaware on

April 14, 2010, and assigned registration file number 4811813. (See Exhibit 4 hereto.)

       5.      Upon information and belief, IAP’s registered agent for service of process is

National Registered Agents, Inc. with an address of 160 Greentree Drive, Suite 101, Dover,

Delaware 19904. (See Exhibit 4 hereto.) Alternatively, according to information filed with the

California Secretary of State, Jonathan M. Saltman is an agent for service of process, with Mr.

Saltman represented to have an address of 9058 Rosecrans Avenue, Bellflower, California

90706. (See Exhibit 3 hereto.)

       6.      Defendant International Aero Holdings, LLC (“IAH”), upon information and

belief, is a limited liability company organized and existing under the laws of the state of

Delaware and having a principal place of business located at 9058 Rosecrans Avenue,

Bellflower, California 90706. (See Exhibits 5 and 6 hereto.)

       7.      Upon information and belief, Defendant IAH was incorporated in Delaware on

February 9, 2001, and assigned registration file number 3356619. (See Exhibit 6 hereto.)




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       8.     Upon information and belief, IAH’s registered agent for service of process is

National Registered Agents, Inc. with an address of 160 Greentree Drive, Suite 101, Dover,

Delaware 19904. (See Exhibit 6 hereto.) Alternatively, according to information filed with the

California Secretary of State, Jonathan M. Saltman is an agent for service of process, with Mr.

Saltman represented to have an address of 9058 Rosecrans Avenue, Bellflower, California

90706. (See Exhibit 5 hereto.)

       9.     Defendant International Aero Engineering, LLC (“IAE”), upon information and

belief, is a limited liability company organized and existing under the laws of the state of

Delaware and having a principal place of business located at 9058 Rosecrans Avenue,

Bellflower, California 90706. (See Exhibits 7 and 8 hereto.)

       10.    Upon information and belief, Defendant IAE was incorporated in Delaware on

March 18, 1998, and assigned registration file number 2873111. (See Exhibit 8 hereto.)

       11.    Upon information and belief, IAE’s registered agent for service of process is

National Registered Agents, Inc. with an address of 160 Greentree Drive, Suite 101, Dover,

Delaware 19904. (See Exhibit 8 hereto.) Alternatively, according to information filed with the

California Secretary of State, Jonathan M. Saltman is an agent for service of process, with Mr.

Saltman represented to have an address of 9058 Rosecrans Avenue, Bellflower, California

90706. (See Exhibit 7 hereto.)

       12.    Defendant International Aero Services, LLC (“IAS”), upon information and

belief, is a limited liability company organized and existing under the laws of the state of

Delaware and having a principal place of business located at 9058 Rosecrans Avenue,

Bellflower, California 90706. (See Exhibits 9 and 10 hereto.)




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       13.     Upon information and belief, Defendant IAS was incorporated in Delaware on

May 28, 1997, and assigned registration file number 2755710. (See Exhibit 10 hereto.)

       14.     Upon information and belief, IAS’s registered agent for service of process is

National Registered Agents, Inc. with an address of 160 Greentree Drive, Suite 101, Dover,

Delaware 19904. (See Exhibit 10 hereto.) Alternatively, according to information filed with the

California Secretary of State, National Registered Agents, Inc. is a registered agent for service of

process, with an address of 818 West Seventh Street, Suite 930, Los Angeles, California 90017.

(See Exhibits 9 and 11 hereto.)

       15.     Defendant Jonathan Saltman (“Saltman”), an individual, upon information and

belief is a citizen of the state of California with an address of 9058 Rosecrans Avenue,

Bellflower, California 90706. (See Exhibits 3, 5, and 7 hereto.)

       16.     Defendant Saltman maintains a LinkedIn® profile in which he identifies himself

as “Owner, International Aero.” (See Exhibit 12 hereto.)

       17.     Defendant DOE 1 is a purported company called “International Aero,” which

Defendant Saltman claims to own, and which is referenced herein. (See Exhibit 12 hereto.)

       18.     Defendant DOE 2 is a purported company called “Aero” referenced herein.

       19.     Defendant DOE 3 is a purported California limited liability company called

“International Aero Products, LLC” referenced herein.

       20.     Defendant DOE 4 is “International Aero Products, LLP, 9058 Rosecrans Avenue,

Bellflower, CA 90706, UNITED STATES, a partnership, composed of Jonathan Saltman, US

Citizen under the laws of California” referenced herein.

       21.     Defendant DOE 5 is a purported company called “International AERO Products”

referenced herein.



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       22.      The true names and capacities, to the extent they legally exist, of the defendants

named herein as DOES 1 through 5, inclusive, are unknown to Plaintiff Aero who therefore sues

those defendants by such fictitious names. On information and belief, DOES 1 through 5,

inclusive, have damaged Plaintiff Aero in the manner set forth herein. Plaintiff Aero will amend

this Complaint to show the true names and capacities of each of the defendants named herein as

DOES 1 through 5, to the extent they legally exist, when so ascertained.


                                 JURISDICTION AND VENUE


       23.      This Court has original subject matter jurisdiction over those claims arising under

the laws of the United States pursuant to 15 U.S.C. §§ 1121 and 1125 and 28 U.S.C. §§ 1331 and

1338(a).

       24.      This Court has original subject matter jurisdiction over the state unfair

competition claims pursuant to 28 U.S.C. § 1338(b), as they are related to and joined with

substantial claims arising based on federal trademark infringement.

       25.      This Court has supplemental subject matter jurisdiction pursuant to 28 U.S.C.

§ 1367 over the other state claims as those claims are so related to claims over which this Court

has original subject matter jurisdiction that those claims relate to the same case or controversy.

       26.      This Court has personal jurisdiction over at least Defendant IAP since Defendant

IAP   is     doing   business   in   this   judicial   district   through   its   interactive   website,

www.internationalaeroproducts.com, on which infringing activities are viewable and through

which Defendant IAP’s products are offered for sale and may be purchased and shipped to

customers in this judicial district. (See Exhibits 13, 14 and 15 hereto.)




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       27.     This Court also has personal jurisdiction over at least Defendant IAP since

Defendant IAP’s products are offered for sale and may be purchased by customers in this judicial

district at Walmart, including through its interactive website, www.walmart.com. (See Exhibit

16 hereto.)

       28.     This Court also has personal jurisdiction over at least Defendant DOES 1-3,

inclusive, based on the false claims of trademark infringement against and associated demands

made of Plaintiff Aero, who has a principal place of business located in this judicial district.

       29.     This Court further has personal jurisdiction over at least one of Defendants based

on false assertions, false designations of origin, and false descriptions under 15 U.S.C. §§ 1114

and 1125(a) as they relate to Plaintiff Aero, who has a principal place of business located in this

judicial district, and Plaintiff’s goods, services, and commercial activities.

       30.     Venue is proper in this Court pursuant to 28 U.S.C. §§ 1391(b) and (c) as this

Court has personal jurisdiction over at least Defendant IAP and Defendant DOES 1-4, who have

collectively committed acts in violation of federal and state laws within this judicial district

and/or knowingly injured and threatened Plaintiff Aero, who is domiciled in this judicial district.


  GENERAL FACTUAL ALLEGATIONS RELATED TO ACTUAL CONTROVERSY


       31.     Plaintiff Aero’s parent company, entrotech, originally developed paint in film

form to maintain the integrity of FAA-required markings on commercial airliners. Once the

technology proved effective, entrotech decided to rethink paint and the paint business entirely.

As a result, Plaintiff Aero was formed as a wholly owned subsidiary of entrotech to focus on a

rapidly evolving market in film-based paint.




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       32.     As   opposed     to   conventional    spray-applied   paint,   film-based   paint   is

environmentally responsible, sustainable, lightweight, durable, aerodynamic, and achieves a

level of aesthetic quality not seen with spray-applied paint.

       33.     Plaintiff Aero, on its own and through acts of entrotech that inured to the benefit

of Plaintiff Aero upon its formation and assignment of rights and goodwill thereto, has engaged

in substantial and continuous marketing and promotion of its film-based paint and associated

AERO-based brand, resulting in substantial goodwill associated with its AERO-based marks and

recognition of those marks among consumers familiar with Plaintiff Aero’s reputation in the

burgeoning industry of film-based paint.


The Aero Registrations and Applications

       34.     Plaintiff Aero is the holder of four United States Trademark Registrations based

on the word AERO used in conjunction with paint in film form.

       35.     On April 7, 2015, United States Trademark Registration No. 4,715,104 (“the ‘104

Registration”) was duly and legally issued by the United States Patent and Trademark Office.

(See Exhibit 17 hereto.)

       36.     Plaintiff Aero currently owns and is the named holder of the ‘104 Registration.

(See Exhibit 18 hereto.)

       37.     The mark of the ‘104 Registration is a stylized design AERO mark as follows:




(See Exhibit 17 hereto.)




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       38.    The ‘104 Registration is directed toward goods in International Class 2 identified

as “paint in film form.” (See Exhibit 17 hereto.)

       39.    On May 3, 2016, United States Trademark Registration No. 4,948,895 (“the ‘895

Registration”) was duly and legally issued by the United States Patent and Trademark Office.

(See Exhibit 59 hereto.)

       40.    Plaintiff Aero currently owns and is a named holder of the ‘895 Registration.

(See Exhibits 19 and 20 hereto.)

       41.    The mark of the ‘895 Registration is a standard character AERO mark. (See

Exhibit 59 hereto.)

       42.    The ‘895 Registration is directed toward goods in International Class 2 identified

as “paint in film form.” (See Exhibit 59 hereto.)

       43.    On December 8, 2015, United States Trademark Registration No. 4,867,416 (“the

‘416 Registration”) was duly and legally issued by the United States Patent and Trademark

Office. (See Exhibit 21 hereto.)

       44.    Plaintiff Aero currently owns and is the named holder of the ‘416 Registration.

(See Exhibit 22 hereto.)

       45.    The mark of the ‘416 Registration is a standard character AERO LIQUID

METAL mark. (See Exhibit 21 hereto.)

       46.    The ‘416 Registration is directed toward goods in International Class 2 identified

as “paint in film form for industrial and commercial use.” (See Exhibit 21 hereto.)

       47.    On September 30, 2014, United States Trademark Registration No. 4,614,452

(“the ‘452 Registration”) was duly and legally issued by the United States Patent and Trademark

Office. (See Exhibit 23 hereto.)



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       48.    Plaintiff Aero currently owns and is the named holder of the ‘452 Registration.

(See Exhibit 24 hereto.)

       49.    The mark of the ‘452 Registration is a stylized design AERO ADVANCED

PAINT TECHNOLOGY mark as follows:




(See Exhibit 23 hereto.)

       50.    The ‘452 Registration is directed toward goods in International Class 2 identified

as “paint in film form.” (See Exhibit 23 hereto.)

       51.    On August 9, 2017, United States Trademark Application No. 87/562,858 (“the

‘858 Application”) was filed by Plaintiff Aero with the United States Patent and Trademark

Office. (See Exhibit 25 hereto.)

       52.    The mark of the ‘858 Application is a standard character AERO SUSTAINABLE

PAINT TECHNOLOGY mark. (See Exhibit 25 hereto.)

       53.    The ‘858 Application is directed toward goods in International Class 2 identified

as “paint in film form.” (See Exhibit 25 hereto.)

       54.    The ‘858 Application published for opposition on March 27, 2018, and on April

11, 2018, two seemingly identical requests for extension of time to oppose until July 25, 2018,

were filed and granted against the ‘858 Application by a party identified as “International Aero

Products, LLP, 9058 Rosecrans Avenue, Bellflower, CA 90706, UNITED STATES, a

partnership, composed of Jonathan Saltman, US Citizen under the laws of California”

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(Defendant DOE 4) with the assertion that good cause for the request was shown as the

“potential opposer is engaged in settlement discussions with applicant.” (See Exhibits 26, 27,

28, and 29 hereto.)

       55.    On August 31, 2017, United States Trademark Application No. 87/592,014 (“the

‘014 Application”) was filed by Plaintiff Aero with the United States Patent and Trademark

Office. (See Exhibit 30 hereto.)

       56.    The mark of the ‘014 Application is a stylized design AERO SUSTAINABLE

PAINT TECHNOLOGY mark as follows:




(See Exhibit 30 hereto.)

       57.    The ‘014 Application is directed toward goods in International Class 2 identified

as “paint in film form.” (See Exhibit 30 hereto.)

       58.    The ‘014 Application published for opposition on March 20, 2018, and on April

11, 2018, a request for extension of time to oppose until July 18, 2018, was filed and granted

against the ‘014 Application by a party identified as “International Aero Products, LLP, 9058

Rosecrans Avenue, Bellflower, CA 90706, UNITED STATES, a partnership, composed of

Jonathan Saltman, US Citizen under the laws of California” (Defendant DOE 4) with the

assertion that good cause for the request was shown as the “potential opposer is engaged in

settlement discussions with applicant.” (See Exhibits 31 and 32 hereto.)


The “International Aero” Registrations, Applications, Assertions, and Parties

       59.    United States Trademark Registration 4,256,779 (“the ‘779 Registration”) was

registered on December 11, 2012. (See Exhibit 33 hereto.)
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       60.     The ‘779 Registration is for goods in International Class 3 described as

“Automotive cleaning preparations” and a stylized design A A E R O mark as follows:




(See Exhibits 33 and 34 hereto.)

       61.     The application for the ‘779 Registration was filed in the name of International

Aero Products, LLC, an alleged California limited liability company (Defendant DOE 3 herein),

with a verified statement that February 1, 2010, was the date of first use in commerce and May 1,

2010, was the date of first use in commerce regulated by the United States of the mark therein.

(See Exhibit 33 hereto.)

       62.     Based on information and belief, International Aero Products, LLC, did not

legally exist as of February 1, 2010, nor has it ever since legally existed as a limited liability

company organized under the laws of the state of California. (See Exhibit 36 hereto.)

       63.     In fact, based on information and belief, no business entity having the name

“International Aero Products” was organized and legally existed under the laws of any state on

February 1, 2010.

       64.     On April 14, 2010, a still legally existing limited liability company having the

name, International Aero Products, LLC, was organized under the laws of the state of Delaware

(“Defendant IAP” herein). (See Exhibit 4 hereto.)

       65.     Recently, Defendant IAP filed United States Trademark Application Number

87/276,886 (“the ‘886 Application”) on December 21, 2016, with the United States Patent and


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Trademark Office for registration of the following stylized design mark for use in conjunction

with goods in International Class 3 described as “Automotive cleaning preparations”:




(See Exhibit 37 hereto.)

       66.     The ‘779 Registration was identified as a “related property” of the ‘886

Application, with Defendant IAP claiming ownership of the ‘779 Registration. (See Exhibit 37

hereto.)

       67.     The ‘886 Application was abandoned on September 29, 2017, as Defendant IAP

failed to respond to an office action therein. (See Exhibit 38 hereto.)

       68.     Despite Defendant IAP’s filing of the ‘886 Application in the name of

International Aero Products, LLC, a limited liability company legally organized under the laws

of Delaware less than one year prior, on December 11, 2017, a Combined Declaration of Use

and Incontestability under Sections 8 & 15 was filed with the United States Patent and

Trademark Office on behalf of International Aero Products, LLC, a limited liability company

legally organized under the laws of California, (Defendant DOE 3) for the ‘779 Registration.

(See Exhibits 34 and 37 hereto.) The Combined Declaration was accepted by the United States

Patent and Trademark Office on January 6, 2018. (See Exhibit 35 hereto.)

       69.     On April 11, 2018, a Complaint for: (1) Infringement of a Federally Registered

Trademark Under 15 U.S.C. Section 1114; and (2) Infringement of Trademark Under 15 U.S.C.

Section 1125(a) was filed in the United States District Court for the Central District of California

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and assigned Case No. 2:18-cv-03047 (“the California Complaint”). (See Exhibits 39 and 40

hereto.) The California Complaint has not yet been served, and Plaintiff Aero denies the

infringement allegations therein.

       70.     Despite correctly asserting that Plaintiff Aero is a Delaware corporation, the

California Complaint incorrectly identified Plaintiff Aero as “having a principal place of

business at 409 Illinois Street, San Francisco, California 94158.” (See Paragraph 1, supra, and

Exhibits 39 and 40 hereto.)

       71.     Based on information and belief, the California Complaint was also filed in the

name of a non-existent legal entity, such that it is without the capacity to sue, as

“INTERNATIONAL AERO PRODUCTS LLC, a California limited liability company” with a

“principal place of business at 9058 Rosecrans Avenue, Bellflower, California 90706”

(Defendant DOE 3) was identified as the Plaintiff in the California Complaint. (See Paragraph

62, supra, and Exhibits 39 and 40 hereto.)

       72.     The ‘779 Registration was cited in the California Complaint as a basis for

trademark infringement claims therein. (See Exhibit 39 hereto.)

       73.     Also, on April 11, 2018, a cease-and-desist letter was sent by counsel of behalf of

“International Aero (“Aero”)” (Defendants DOE 1-2) demanding that Plaintiff Aero

immediately:

               (1) cease using in commerce any trademark containing the term AERO, or any
       colorable imitation thereof, or otherwise committing any further infringement of
       [International Aero’s] AERO trademarks;

              (2) expressly cancel U.S. Trademark Registration Nos. 4,715,104; 4,614,452;
       4,948,895; and 4,867,416; … [and]

               ***




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               (4) deliver to [International Aero] all product packaging, marketing material,
       advertisements, paper and digital materials in [Plaintiff’s] inventory, possession, custody,
       or control, or en route to the U.S. from any overseas source that displays any of the
       Accused Trademarks, or a certified videotape showing the destruction of the same.

(See Exhibit 41 hereto, referred to hereinafter as the “International Aero Demand Letter.”)

       74.     The filing of the California Complaint and transmission of the International Aero

Demand Letter followed several e-mail and telephonic communications between counsel for

Plaintiff Aero and counsel purportedly acting on behalf of Defendant IAP.

       75.     On October 27, 2017, a letter putting Defendant IAP and its President/CEO,

Jonathan Saltman (Defendant Saltman), on notice of the Aero Registrations was addressed and

sent to Jonathan M. Saltman, President/CEO of International Aero Products, LLC at 9058

Rosecrans Avenue, Bellflower, California 90706-2038, JonathanS@InternationalAero.com.

(See Exhibit 42 hereto.)

       76.     Counsel for International Aero Products, LLC acknowledged receipt of Plaintiff

Aero’s October 27 letter. (See Exhibit 43 hereto.)

       77.     Several other entities apparently related to Defendant IAP also exist.

       78.     Defendant IAP’s website, www.internationalaeroproducts.com, includes a

webpage entitled “Other Aero Companies” identifying Defendant IAE and Defendant IAS. (See

Exhibit 44 hereto.)

       79.     Based on information and belief, the founding date of Defendant IAS on the

“Other Aero Companies” webpage is incorrect, however, as that date does not reconcile with

records of the California Secretary of State and the State of Delaware – Department of State:

Division of Corporations. (See Paragraph 13, supra, and Exhibits 10 and 44 hereto.)

       80.     A GOOGLE® photograph of the building located at 9058 Rosecrans Avenue,

Bellflower, California 90706 illustrates the name “International Aero Engineering – An

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International Aero Company” (the latter of which is identified herein as Defendant DOE 1) on

the outside thereof. (See Exhibit 45 hereto.)

       81.     In addition to Defendant IAP, Defendant IAS, and Defendant IAE, a search of

business records at the California Secretary of State revealed only one other entity with the

phrase “international aero” in its name and appearing to be associated with 9058 Rosecrans

Avenue, Bellflower, California 90706 and/or Jonathan Saltman – i.e., Defendant IAH. (See

Exhibit 36 hereto.)

       82.     A search of Fictitious Business Names recorded with the Los Angeles County

Registrar-Recorder/County Clerk revealed no names including the phrase “International Aero”

(demonstrative with respect to Defendant DOE 1.) (See Exhibit 46 hereto.)

       83.     A search of Fictitious Business Names recorded with the Los Angeles County

Registrar-Recorder/County Clerk also revealed no recorded “Aero” fictitious business names

(demonstrative with respect to Defendant DOE 2). (See Exhibits 47, 48 and 49 hereto.)

       84.     Given the many assertions with respect to “International Aero” parties associated

with this controversy, the use on Defendant IAP’s website of the term “Aero” to describe the

company associated with statements and products described therein, and without further

information concerning the relationship amongst them and their respective rights and actions,

each of the Defendants is hereby named in this lawsuit.


                                  FIRST CAUSE OF ACTION
                       (Trademark Infringement– 15 U.S.C. §§ 1111 and 1114)

       85.     Plaintiff Aero hereby repeats and realleges the allegations set forth above as

though fully set forth herein.




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       86.     At least Defendant IAP and Defendant Saltman were given actual notice of the

‘104 Registration, the ‘895 Registration, the ‘416 Registration, and the ‘452 Registration

(collectively, “the Aero Registrations”) as early as October 27, 2017. (See Exhibit 42 hereto.)

       87.     Each of the Aero Registrations consists solely of or begins with the word AERO.

       88.     Each of the Aero Registrations is for goods in International Class 2 described as

paint in film form.

       89.     The goods of the Aero Registrations are often used in the transportation industry,

where they are affixed to transportation vehicles including automobiles, aircraft, boats, and even

bobsleds.

       90.     The California Complaint acknowledges Plaintiff Aero’s use of the marks of the

Aero Registrations on automobiles. (See Paragraphs 23, 27, and 38 of Exhibit 39 hereto.)

       91.     Plaintiff Aero and, prior to incorporation of Plaintiff, entrotech, have used the

marks of the Aero Registrations on a continuous and exclusive basis since as early as 2012.

       92.     The standard character AERO mark of the ‘895 Registration has been

continuously and exclusively used in conjunction with paint in film form in commerce regulated

by the United States since at least as early as May 15, 2013. (See Exhibit 59 hereto.)

       93.     At least one of the Defendants has used in commerce a reproduction or colorable

imitation of at least one of the Aero Registrations in connection with the sale, offering for sale,

distribution, or advertising of goods or services on or in connection with which such use is likely

to cause confusion, or to cause mistake, or to deceive consumers in violation of 15 U.S.C.

§ 1114.




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       94.      For example, the mark of the ‘779 Registration has recently been used in

commerce in conjunction not only with automotive cleaning preparations described in the ‘779

Registration, but also in conjunction with automobiles themselves.

       95.      Specifically,                Defendant                 IAP’s               website,

www.internationalaeroproducts.com/news/, prominently displays a link to an article entitled

“INTERNATIONAL AERO PRODUCTS UNVEILS THE AERO EDITION C7 CORVETTE.”

(See Exhibit 50 hereto, referenced hereinafter as the “C7 Corvette Article.”) The C7 Corvette

Article was published on October 23, 2014, and includes the following phrases:

       •     “International AERO Products, AERO, is proud to announce the unveiling of the

             AERO Edition C7 Corvette created by ABBES Design and builty by MRT

             Engineered Performance at the 2014 SEMA Show in Las Vegas, Nevada.”

       •     “The AERO Edition C7 Corvette body kit . . . enhances the original design and

             esthetic of the vehicle giving it a luxurious, global charm.          The vehicle also

             showcases racing suspension and brake upgrades. AERO’s brand ambassador, Jo

             Coddington, consulted in the designing of the wheels. [sic] which showcase the

             AERO logo.”

       •     “AERO will continue to customize the vehilce [sic] at their upholstery facility in

             Bellflower, California”

       •     “AERO’s President and CEO, Jonathan Saltman”

       •     “Before the AERO Edition C7 Corvette leaves AERO Headquarters, the exterior will

             be protected from the elements with AERO SHIELD, 2-Part Paint Protectant. The

             silicone-free, co-polymer protectant will leave the vehicle’s paint with a luscious

             shine and leave the vehicle’s paint protected for up to two years.”


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       •     “The AERO Edition C7 Corvette is a Limited Edition vehicle”

       •     “To find out more information about the AERO Edition C7 Corvette, visit the

             International AERO Products booth at the SEMA Show”

       •     “Show goers should also stay connected with AERO on Facebook and Twitter”

       •     “AERO’s full line of products have been hitting store shelves all around the world”

(See Exhibit 51 hereto.)

       96.      As another example, the sole word AERO has been used in commerce by at least

one of the Defendants to refer to application to and/or coverage of transportation vehicles.

       97.      Specifically, a specimen recently filed in conjunction with the ‘779 Registration

illustrates use of the sole word AERO in describing products in a manner creating a likelihood of

confusion with the Aero Registrations – i.e., the specimen includes the following language:

“while it lays down AERO’s exclusive co-polymer to protect and beautify your car’s finish for

months.” (See Exhibit 34 hereto.)

       98.      Further, the 2017 SEMA show exhibitor list includes a listing for “AERO Detail

Products” as an exhibitor, with the following statements: “AERO Detail Products are premium

materials manufactured by International AERO Products, LLC for the Automotive Aftermarket”

and “AERO covers the late model performance, hot rod, restoration, collector, truck, motorcycle,

DIY, exotic, sport compact and aviation markets.” The description also refers to “Collision,

Paint, Body & Finishing Supplies” as a Product Category associated with the “AERO Detail

Products” exhibitor. (See Exhibit 52 hereto.)

       99.      As another example, Defendant IAP’s website now includes the following

homepage banner: “AERO: Developed for the fastest, most exotic vehicles on earth – now

available for your car.” (See Exhibit 53 hereto.)


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         100.   The uses described in Paragraphs 93-99, supra, are without the license or

permission of Plaintiff Aero.

         101.   The goods with which the uses described in Paragraphs 93-99, supra, occurred are

at least related to – and even purport to overlap with – those of the Aero Registrations such that

consumers are likely to be confused as to the origin or source of such goods.

         102.   Consumers are likely to be confused in believing that goods associated with uses

described in Paragraphs 93-99, supra, originate with or come from Plaintiff Aero, are authorized,

licensed, endorsed, sponsored by, or are connected in some way with Plaintiff or the marks of the

Aero Registrations.

         103.   Each of the uses described in Paragraphs 93-99, supra, is confusingly similar to

the marks of the Aero Registrations in at least one of sight, sound, meaning, and commercial

impression.

         104.   In response to Plaintiff Aero’s actual notice of the Aero Registrations to

Defendant IAP and Defendant Saltman, the International Aero Demand Letter alleges that

“International Aero (“Aero”) . . . is the senior user of the AERO trademark . . . and Aero’s

AERO trademark is incontestable at this point.” (See Exhibit 41 hereto.) Based on information

and belief, those allegations in the International Aero Demand Letter are false.

         105.   Based on information and belief, with respect to any of the Defendants, Plaintiff

Aero is the senior user of any trademark consisting of the sole word AERO.

         106.   Exhibit 7 to the California Complaint purports to support the assertion therein that

“Aero has used AERO as its trademark since at least February 1, 2010.” (See Paragraph 14 and

Exhibit 7 within Exhibit 39 hereto.) Upon information and belief, that assertion is believed to be

false.



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       107.    The California Complaint introduces no evidence to support that assertion.

Rather, Exhibit 7 to the California Complaint is asserted to be “a true and correct copy of Aero’s

website, which was captured and archived in February 2011 by Archive.com.” (See Paragraph

14 and Exhibit 7 within Exhibit 39 hereto.) Notably, February 2011 is one year later than the

asserted date of first use of February 1, 2010.

       108.    In addition, the source of any trademark, to the extent it exists, shown on that

webpage is unknown. The company name and address – i.e., International Aero Products, LLC,

9058 Rosecrans Ave., Bellflower, CA 90706 – provided at the bottom of the webpage illustrated

in Exhibit 7 to the California Complaint purports to be that of Defendant IAP or Defendant DOE

3. (See Paragraph 14 and Exhibit 7 within Exhibit 39 hereto.) Defendant IAP was not formed,

however, until April 14, 2010. (See Paragraph 4, supra, and Exhibit 4 hereto.) In addition, that

illustrated webpage prominently states: “Our Website is Coming Soon! Visit us again!” (See

Exhibit 39 hereto.) Thereunder, the illustrated webpage states: “We welcome you to visit our

other fine Aero Companies: International Aero Services, International Aero Engineering.” (Id.)

       109.    Further to Paragraph 108, supra, the stylized design A A E R O mark of the ‘779

Registration appears to be prominently displayed on the illustrated webpage, but with the phrase

“An International Aero Company” immediately thereunder and seemingly included within the

mark. (See Paragraph 14 and Exhibit 7 within Exhibit 39 hereto.)

       110.    Other than inclusion in the stylized design A A E R O mark similar in appearance

to that of the ‘779 Registration, all but two occurrences of the word AERO on that webpage are

in association with other words in reference to a company – i.e., “An International Aero

Company,” “Aero Companies,” “International Aero Products, LLC,” “International Aero

Services,” and “International Aero Engineering.” The other two occurrences of the word AERO

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on that webpage are in the general phrase “AERO products.” (See Exhibit 7 within Exhibit 39

hereto.)

       111.    Defendant DOE 3 alleges in the California Complaint that it “has regularly

exhibited and promoted its AERO branded automotive cleaning products at numerous

automotive tradeshows, such as the Specialty Equipment Marketing Association (“SEMA”)

tradeshow in Las Vegas, Nevada.” (See Paragraph 16 and Exhibit 9 within Exhibit 39 hereto.)

In doing so, Defendant DOE 3 referenced an April 7, 2017, article including the following

phrases: “AERO booth,” “AERO Crew,” “AERO fans,” “AERO’s full line of premium detailing

products are now all around the world,” and “International AERO Products are designed” (Id.)

Also       included    in     that    article     are     references     to     “Facebook       at

http://www.facebook.com/internationalaero       International   Aero     Products     (IAP)    or

http://www.facebook.com/aerodetailproducts Aero Premium Detailing Products.” (Id.) Those

Facebook pages refer to Defendant IAP’s website, www.internationalaeroproducts.com. (See

Exhibits 54 and 55 hereto.)

       112.    In view of the foregoing allegations set forth in Paragraphs 107-111, the

California Complaint does not evidence that any of the Defendants has used the sole word

AERO as a trademark as early as February 1, 2010, nor earlier than the dates of first use of any

of the marks of the Aero Registrations.

       113.    The California Complaint also does not evidence that any of the Defendants has

used any mark beginning with the word AERO as a trademark as early as February 1, 2010, nor

earlier than the dates of first use of any of the marks of the Aero Registrations. Recall that the

stylized design A A E R O mark of the ‘779 Registration does not fall within this category. (See

Exhibit 34 hereto.)



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       114.    The uses described in Paragraphs 93-95 have already caused consumer confusion

and are likely to further damage Plaintiff unless enjoined.

       115.    As early as November 2016, an attendee at the annual Las Vegas SEMA show

familiar with Plaintiff Aero contacted Plaintiff to inquire as to the nature of connection with

Plaintiff of automobiles exhibited at the show with the mark of the ‘779 Registration prominently

displayed on the exterior surface thereof.      The attendee took photographs of automobiles

showing the mark of the ‘779 Registration affixed thereto. (See Exhibits 57 and 58 hereto.)

       116.    Again, with respect to the SEMA show, in October 2017, Plaintiff Aero was

contacted by an attendee who was confused into thinking that Plaintiff Aero would be exhibiting

products bearing its AERO-based marks at the 2017 SEMA show based on inclusion of “AERO

Detail Products” in the published exhibitor list for 2017 SEMA. In conjunction with listing of

“AERO Detail Products” as an exhibitor was the following description: “AERO Detail Products

are premium materials manufactured by International AERO Products, LLC for the Automotive

Aftermarket.” Further stated therein: “AERO covers the late model performance, hot rod,

restoration, collector, truck, motorcycle, DIY, exotic, sport compact and aviation markets.

AERO's complete product line are [sic] innovative professional grade products . . . .

International AERO Products sets the standards others follow with tested, approved and eco-

friendly premium detailing products, making AERO the Industry Powerhouse.” (See Exhibit 52

hereto.)

       117.    Based on the foregoing, Plaintiff Aero requests that this Court enter a judgment

that the Defendants have collectively or otherwise, as determined in accordance with the

relationship amongst them and their respective rights and actions, infringed at least one of the

Aero Registrations.



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         118.   As at least one of the Defendants had actual notice of the Aero Registrations as

early as October 27, 2017, continued infringement of the Aero Registrations is knowing, willful,

and deliberate. Thus, Plaintiff Aero requests that this Court award Plaintiff damages pursuant to

15 U.S.C. §§ 1111 and 1117 and other applicable statutes in an amount sufficient to compensate

Plaintiff for Defendants’ infringement of the Aero Registrations including Defendants’ profits

and damages sustained by Plaintiff, together with pre-judgment and post-judgment interest and

costs.

         119.   Plaintiff Aero also requests that this Court issue an injunction pursuant to 15

U.S.C. § 1116 permanently enjoining each of the Defendants and their officers, agents,

employees, attorneys, and all persons in active concert or participation with any of them, from

infringing the Aero Registrations.

         120.   Plaintiff Aero also requests that this Court issue an injunction pursuant to 15

U.S.C. § 1116 permanently enjoining each of the Defendants and their officers, agents,

employees, attorneys, and all persons in active concert or participation with any of them, from

using the single word AERO as a trademark, from attempting to register any trademarks

consisting of the single word AERO, and from using the mark of the ‘779 Registration on

transportation vehicles.

         121.   Plaintiff Aero also requests that this Court issue an order pursuant to 15 U.S.C.

§ 1118 that all goods, labels, signs, prints, packages, wrappers, receptacles, advertisements, and

the like in the possession of any of the Defendants and containing the sole word AERO used to

refer to a business entity be delivered up and destroyed.

         122.   Plaintiff Aero further requests that this Court issue an order pursuant to 15 U.S.C.

§ 1118 that all goods, labels, signs, prints, packages, wrappers, receptacles, advertisements, and



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the like in the possession of any of the Defendants and referring to a business entity containing at

least the word AERO that is not a legally existing business entity or registered fictitious business

name be delivered up and destroyed.


                                  SECOND CAUSE OF ACTION
               (False Designation of Origin and False Descriptions – 15 U.S.C. § 1125)

       123.    Plaintiff Aero hereby repeats and realleges the allegations set forth above as

though fully set forth herein.

       124.    Based on information and belief, at least one of the Defendants uses in commerce

the word AERO in connection with goods or services or containers for such goods in a manner

likely to cause confusion or mistake or to deceive consumers with respect to a false origin,

sponsorship, approval, affiliation, connection, or association of the Defendant with or by Plaintiff

and/or one or more of Plaintiff’s goods, services, or commercial activities.

       125.     Based on information and belief, at least one of the Defendants uses in commerce

the word AERO in conjunction with a false or misleading description or representation of fact so

as to likely cause confusion or mistake or to deceive consumers with respect to a false origin,

sponsorship, approval, affiliation, connection, or association of the Defendant with or by Plaintiff

and/or one or more of Plaintiff’s goods, services, or commercial activities.

       126.    Based on information and belief, at least one of the Defendants, through use in

commerce of the word AERO, misrepresents the nature, characteristics, or qualities of

Defendant’s and/or Plaintiff’s goods, services, or commercial activities.

       127.    Based on the foregoing, Plaintiff Aero requests that this Court enter a judgment

that the Defendants have collectively or otherwise, as determined in accordance with the

relationship amongst them and their respective rights and actions, used the word AERO in a



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manner likely to cause confusion or mistake or to deceive consumers as set forth in 15 U.S.C. §

1125;

        128.   As at least one of the Defendants had actual notice of the Aero Registrations as

early as October 27, 2017, that continued use of the word AERO in a manner likely to cause

confusion or mistake or to deceive consumers was knowing, willful, and deliberate. Thus,

Plaintiff Aero requests that this Court award Plaintiff damages pursuant to 15 U.S.C. § 1117 and

other applicable statutes in an amount sufficient to justly compensate Plaintiff for Defendants’

use of the word AERO in that manner, including Defendants’ profits and damages sustained by

Plaintiff, together with pre-judgment and post-judgment interest and costs.

        129.   Plaintiff Aero also requests that this Court issue an injunction pursuant to 15

U.S.C. § 1116 permanently enjoining each of the Defendants and their officers, agents,

employees, attorneys, and all persons in active concert or participation with any of them, from

using the word AERO in a manner likely to cause confusion or mistake or to deceive consumers

as set forth in 15 U.S.C. § 1125.

        130.   Plaintiff Aero also requests that this Court issue an injunction pursuant to 15

U.S.C. § 1116 permanently enjoining each of the Defendants and their officers, agents,

employees, attorneys, and all persons in active concert or participation with any of them, from

using the single word AERO as a trademark, from attempting to register any trademarks

consisting of the single word AERO, and from using the mark of the ‘779 Registration on

transportation vehicles.

        131.   Plaintiff Aero also requests that this Court issue an order pursuant to 15 U.S.C.

§ 1118 that all goods, labels, signs, prints, packages, wrappers, receptacles, advertisements, and




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the like in the possession of any of the Defendants and containing the sole word AERO used to

refer to a business entity be delivered up and destroyed.

       132.     Plaintiff Aero further requests that this Court issue an order pursuant to 15 U.S.C.

§ 1118 that all goods, labels, signs, prints, packages, wrappers, receptacles, advertisements, and

the like in the possession of any of the Defendants and referring to a business entity containing at

least the word AERO that is not a legally existing business entity or registered fictitious business

name be delivered up and destroyed.


                                   THIRD CAUSE OF ACTION
           (Non-Infringement, Unenforceability, and Cancellation of the ‘779 Registration –
                 28 U.S.C. §§ 2201 and 2202 and 15 U.S.C. §§ 1051, 1064, and 1125)

       133.     Plaintiff Aero hereby repeats and realleges the allegations set forth above as

though fully set forth herein.

       134.     An actual justiciable controversy exists by way of the credible threat of immediate

litigation (with a lawsuit having already been filed against Plaintiff – although in the name of a

non-existent entity without the capacity to sue – Defendant DOE 3). (See Exhibits 39 and 40

hereto.)

       135.     Defendant DOE 4 has also threatened to oppose registration of the ‘858

Application and the ‘014 Application, both owned by Plaintiff Aero, as set forth in Paragraphs

54 and 58, supra.

       136.     In view of foregoing, Plaintiff seeks relief from this Court by way of a judgment

declaring that Plaintiff does not infringe any of the referenced trademarks or violate the Lanham

Act as set forth in the California Complaint.




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        137.    Pursuant to 28 U.S.C. §§ 2201 and 2202, Plaintiff Aero is entitled to a declaratory

judgment that it, its officers, its agents, and its employees are not infringing, have not infringed,

and are not liable for infringing any trademark rights of the Defendants.

        138.    Plaintiff Aero requests that this Court enter a judgment declaring that Plaintiff and

its officers, agents, and employees have not infringed any federal or common law trademark

rights of the Defendants, where such rights are for marks containing the word AERO.

        139.    Plaintiff Aero also requests that this Court issue an injunction pursuant to 15

U.S.C. § 1116 permanently enjoining each of the Defendants and their officers, agents,

employees, attorneys, and all persons in active concert or participation with any of them, from

relying on or referencing the ‘779 Registration in opposing registration of the Aero Applications.

        140.    Plaintiff Aero further requests that this Court enter a judgment declaring that

Plaintiff and its officers, agents, and employees have not infringed the ‘779 Registration, to the

extent it is enforceable or valid, which Plaintiff believes it is not.

        141.    Plaintiff, being the named defendant in the California Complaint, is or will be

damaged by continued registration of the ‘779 Registration.

        142.    Based on information and belief, Plaintiff believes that the ‘779 Registration may

have been obtained fraudulently, given that the application was filed for the ‘779 Registration

with a verified statement that February 1, 2010, was the date of first use in commerce and May 1,

2010, was the date of first use in commerce regulated by the United States of the mark of the

‘779 Registration. (See Paragraphs 59-64, supra.) Plaintiff Aero, therefore, requests that this

Court award Plaintiff damages against Defendants jointly and severally pursuant to 15 U.S.C. §

1120 based on the false or fraudulent procurement of the ‘779 Registration.




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       143.    Given that the holder of the ‘779 Registration did not and still does not legally

exist, the mark of the ‘779 Registration is being used by, or with the permission of, the registrant

so as to misrepresent the source of the goods or services on or in connection with which the mark

is used. Per mandates of 37 C.F.R. § 2.71(d), the ‘779 Registration cannot be corrected to

substitute another entity as the owner.

       144.    The ‘779 Registration is, therefore, unenforceable and subject to cancellation

under 15 U.S.C. § 1064, subsection 3. In addition, as it lacks the requisite legal requirements to

be protectable on the Principal Register and to be enforceable, Plaintiff seeks relief from this

Court by way of an order pursuant to 15 U.S.C. § 1119 and other applicable statutes cancelling

the ‘779 Registration held in the name of International Aero Products, LLC, an alleged

California limited liability company.



                                 FOURTH CAUSE OF ACTION
               (Unfair Competition and Deceptive Trade Practices – Ohio R.C. §4165)

       145.    Plaintiff Aero hereby repeats and realleges the allegations set forth above as

though fully set forth herein.

       146.    Based on information and belief, at least one of the Defendants uses in commerce

the word AERO in connection with goods or services or containers for such goods in a manner

likely to cause confusion or misunderstanding among consumers as to the source, sponsorship,

approval, approval, or certification of goods of the Defendants with or by Plaintiff and/or one or

more of Plaintiff’s goods, services, or commercial activities.

       147.    Based on information and belief, at least one of the Defendants uses in commerce

the word AERO in connection with goods or services or containers for such goods in a manner

likely to cause confusion or misunderstanding among consumers as to affiliation, connection, or

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association, or certification by, another of goods of the Defendants with or by Plaintiff and/or

one or more of Plaintiff’s goods, services, or commercial activities.

        148.   Based on information and belief, at least one of the Defendants, through use in

commerce of the word AERO, misrepresents the nature, characteristics, or qualities of

Defendant’s and/or Plaintiff’s goods, services, or commercial activities.

        149.   Based on the foregoing, Plaintiff Aero requests that this Court enter a judgment

that the Defendants have collectively or otherwise, as determined in accordance with the

relationship amongst them and their respective rights and actions, used the word AERO in a

manner likely to cause confusion or mistake or to deceive consumers in violation of Ohio R.C. §

4165.

        150.   As at least one of the Defendants had actual notice of the Aero Registrations as

early as October 27, 2017, that continued use of the word AERO in a manner likely to cause

confusion or mistake or to deceive consumers was knowing, willful, and deliberate. Thus,

Plaintiff Aero requests that this Court award Plaintiff damages in an amount sufficient to justly

compensate Plaintiff for Defendants’ use of the word AERO in that manner, including

Defendants’ profits and damages sustained by Plaintiff, together with pre-judgment and post-

judgment interest and costs.

        151.   Plaintiff Aero also requests that this Court issue an injunction pursuant to Ohio

R.C. §4165.03 permanently enjoining each of the Defendants and their officers, agents,

employees, attorneys, and all persons in active concert or participation with any of them, from

engaging in deceptive trade practices.




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       152.    Plaintiff Aero further requests that this Court, pursuant to Ohio R.C. §4165.03

award, Plaintiff Aero against Defendants jointly and severally its actual damages, attorney’s fees,

and any other remedy available at law.


                                    PRAYER FOR RELIEF

       WHEREFORE, Plaintiff requests that this Court:

       (a)     Enter a judgment that Defendants have collectively or otherwise, as determined in

               accordance with the relationship amongst them and their respective rights and

               actions, infringed at least one of the Aero Registrations;

       (b)     Award Plaintiff Aero damages against Defendants jointly and severally pursuant

               to 15 U.S.C. §§ 1111 and 1117 and other applicable statutes in an amount

               sufficient to justly compensate Plaintiff for Defendants’ infringement of the Aero

               Registrations including Defendants’ profits and damages sustained by Plaintiff,

               together with pre-judgment and post-judgment interest and costs;

       (c)     Issue an injunction pursuant to 15 U.S.C. § 1116 permanently enjoining each of

               the Defendants and their officers, agents, employees, attorneys, and all persons in

               active concert or participation with any of them, from infringing the Aero

               Registrations;

       (d)     Enter a judgment declaring that Plaintiff and its officers, agents, and employees

               have not infringed any federal or common law trademark rights of the

               Defendants, where such rights are for marks containing the word AERO;

       (e)     Enter a judgment declaring that Plaintiff and its officers, agents, and employees

               have not infringed the ‘779 Registration, to the extent it is enforceable or valid;




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      (f)   Issue an injunction pursuant to 15 U.S.C. § 1116 permanently enjoining each of

            the Defendants and their officers, agents, employees, attorneys, and all persons in

            active concert or participation with any of them, from using the single word

            AERO as a trademark, from attempting to register any trademarks consisting of

            the single word AERO, and from using the mark of the ‘779 Registration on

            transportation vehicles;

      (g)   Issue an injunction pursuant to 15 U.S.C. § 1116 permanently enjoining each of

            the Defendants and their officers, agents, employees, attorneys, and all persons in

            active concert or participation with any of them, from opposing registration of the

            Aero Applications;

      (h)   Issue an order pursuant to 15 U.S.C. § 1119 and other applicable statutes holding

            the ‘779 Registration unenforceable and cancelling the ‘779 Registration held in

            the name of International Aero Products, LLC, an alleged California limited

            liability company;

      (i)   Award Plaintiff Aero damages against Defendants jointly and severally pursuant

            to 15 U.S.C. § 1120 based on the false or fraudulent procurement of the ‘779

            Registration;

      (j)   Issue an order pursuant to 15 U.S.C. § 1118 that all goods, labels, signs, prints,

            packages, wrappers, receptacles, advertisements, and the like in the possession of

            any of the Defendants and containing the sole word AERO used to refer to a

            business entity be delivered up and destroyed;

      (k)   Issue an order pursuant to 15 U.S.C. § 1118 that all goods, labels, signs, prints,

            packages, wrappers, receptacles, advertisements, and the like in the possession of



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             any of the Defendants and referring to a business entity containing at least the

             word AERO that is not a legally existing business entity or registered fictitious

             business name be delivered up and destroyed;

      (l)    Award Plaintiff Aero damages against Defendants jointly and severally pursuant

             to Ohio R.C. §4165 based on the Defendants Deceptive Trade Practices;

      (m)    Award Plaintiff reasonable attorney fees pursuant to 15 U.S.C. § 1117, Ohio R.C.

             §4165.03, and any other applicable statutes jointly and severally against the

             Defendants; and

      (n)    Grant such further relief as may be just and proper.


                                                    Respectfully submitted,

                                                    CARLILE PATCHEN & MURPHY LLP


                                                    /s/ Matthew S. Brown
                                                    Matthew S. Brown (0077687)
                                                    mbrown@cpmlaw.com
                                                    366 East Broad Street
                                                    Columbus, Ohio 43215
                                                    Tele: (614) 228-6135
                                                    Fax: (614) 221-0216
                                                    Attorneys for Plaintiff Aero Advanced Paint
                                                    Technology, Inc.

                                  JURY TRIAL DEMAND

      Plaintiff hereby demands a jury trial on all issues appropriately triable by jury.


                                                     /s/ Matthew S. Brown
                                                     Matthew S. Brown (0077687)




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